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                       Peter N. Meros, Atty.
                       Law Offices of Meros Smith
                       Lazzara, Brennan & Olney, P.A.




                                                         Letter sent to FWS via email and fax
                                                         Michael Jenkins dated 11/16/2016. Attn:
                                                         Kenneth Perry

                       Barrett Simpson, Atty-In-Fact
                       Conroe Taxidermy by Well
                       Worldwide Energy Logistics

                       Jennie Perron, Attorney
                       Covington
                       Cc: Erica Smith-Klocek Esq.



Covance Laboratories   Jennie Perron Attorney           Letter to Kenneth Perry dated 11/22/2016
Inc.                   Covington


                       Jennie Perron Attorney
                       Covington
                       Cc; Erica Smith-Klocek, Esq.




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Moscow Hide and Fur   Gary J. Schroeder       Letter to U.S. FWS dated 11/15/2016
                      Moscow Hide & Fur
                                              Attached group of letters to FWS dated
                                              8/15/2017 r




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ORGANIZATION      SUBMIITTED BY:             NOTES:
NAME:




                                             Letter to FWS dated 11/21/2016 W/
                                             Attached follow up response leteer dared
                                             June 19, 2017 from FWS. W/attached
                                             7/8/2017 to Kenneth Perry FWS.




                  Peter N Merons. Attorney   Letter to Michael Jenkins dated 11/16/2017
                  Cc: Kevin Hannon & Kris    W/attached follow-up letter to Michael
                  Cline                      Jenkins dated 11/17/2016.




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ORGANIZATION             SUBMITTED BY;             NOTES:
NAME:




                                                   Letter to William Woody FWS dated
                                                   7/10/2017
                                                   W/attached letter to Michael Jenkins dated
                                                   11/22/2016 .W/attached letter to Michael
                                                   Jenkins dated 11/22/2016
Safari Specialist Inc.   Thomas J. Paul            Letter to Michael Jenkins dated 11/8/2016
                         Barclay Damon Tower




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ORGANIZATION         SUBMITTED BY:            NOTES:
NAME:




                                              Letter to Kenneth Perry FWS dated
                                              11/22/2016. W/attached email letter
                                              Kenneth Perrty FWS dated 11/14/2016.



Tandem Labs




                     Larry B. DiLulo




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ORGANIZATION       SUBMITTED BY             NOTES:
NAME:




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ORGANIZATION       SUBMITTED BY:            NOTES:
NAME:




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